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IN THE UNITED STATES DISTRICT COURT ——__ evr
FOR THE DISTRICT OF MARYLAND "88D Sesreceiven
OCT 18 p04
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Nghia Hoang Pho 5
DISTRICT OF MASH SQUAT

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Movant
, DEPUTY

Case No. 1:19-cv—02685-GLR
(1:17-cr—00631-GLR)

United States of America

Respondent.

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MOTION TO DISMISS WITHOUT PREJUDICE

 

Comes now, your Movant, Nghia Hoang Pho, pro se, and hereby moves this Court

for entry of an order dismissing his 2255 Motion without prejudice.

RESPECTFULLY SUBMITTED ON THIS 4 Ss. DAY OF OCTOBER, 2019.

 

Nehia Ho&mg—Phey—Moyant

Certificate of Service
I hereby certify that I have mailed a copy of the foregoing to counsel for

the Respondent on the A > day of October, 2019.

ee
Nghia Hoang Pho
